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                      IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

In Re:                                         )      Case No.: 19-09849
                 Nancy P Verheyen              )
                                               )      Chapter 13
                                               )
                        Debtor(s).             )      Judge Donald R Cassling




                    DEBTORS MOTION TO VOLUNTARILY DISMISS CASE

          NOW COMES, the office of Cutler and Associates LTD., on behalf of the Debtor, Nancy P

Verheyen, our office, Cutler and Associates LTD., respectfully requests that this Court dismiss this

Chapter 13 case, and in support thereof would show the Court as follows:

          1.   The Debtor filed a voluntary petition for relief under Chapter 13 on April 4, 2019

          2.   This Honorable Court confirmed the Debtor’s Chapter 13 Plan as of June 6, 2019

          3.   The Debtor has passed away.

          WHEREFORE, the law office of Cutler and associates LTD., pray that the Court enter an

Order Dismissing the Case and for such other and further relief as this Court deems just and

proper.

                                                              RESPECTFULLY SUBMITTED,

                                                              /s/ David H. Cutler
                                                              David H. Cutler, ESQ
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                                                              Cutler and Associates, Ltd.
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